Case 19-41154-bem         Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43     Desc Main
                                    Document     Page 1 of 33



                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                     ROME DIVISION

     IN RE:
                                                        CHAPTER 11
     AMERICAN BERBER, INC., 1
                                                        CASE NO. 19-41154-BEM
              Debtor.

                               PLAN OF REORGANIZATION

                        Dated this 12th day of October, 2020
 ______________________________________________________________________________

                                            Filed by:

                                    American Berber, Inc.
                                Debtor and Debtor in Possession

                               Attorneys for Debtor in Possession:

                                       Cameron M. McCord
                                      Jones & Walden, LLC
                                      699 Piedmont Ave NE
                                      Atlanta, Georgia 30308
                                          (404) 564-9300




 1
  By Order dated August 28, 2019, the Court substantively consolidated the cases of American
 Berber, Inc, Case No. 19-41154-BEM, and American Carpet Group, Inc., Case No. 19-41150. See
 Case No. 19-41154, Doc No. 63; Case No. 19-41150, Doc. No. 35.
Case 19-41154-bem        Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43             Desc Main
                                   Document     Page 2 of 33



         COMES NOW American Berber, Inc. and American Carpet Group, Inc. as substantively
 consolidated by order of this Court (collectively “Debtor”) Debtor and Debtor in possession in
 the above-captioned case (“Debtor”), and, pursuant to sections 1121 and 1123 of title 11 of the
 United States Code (the “Bankruptcy Code”) and Rule 3016 of the Federal Rules of Bankruptcy
 Procedure (the “Bankruptcy Rules”), proposes this Plan of Reorganization (the “Plan”) for the
 resolution of the Claims against Debtor. Debtor is the proponent of this Plan within the meaning
 of section 1129 of the Bankruptcy Code.

                                             Article 1
                                           Introduction

         1.1      Disclosure Statement. Contemporaneously with the filing of the Plan, Debtor filed
 and served a Disclosure Statement for the Plan, as required by section 1125 of the Bankruptcy
 Code. The Disclosure Statement contains Debtor’s history, financial information regarding Debtor
 and its assets, and a solicitation of acceptances of this Plan.

        1.2      Property and Claims. This Plan deals with all property of Debtor and provides for
 treatment of all Claims against Debtor and its property.

                                            Article 2
                               Definitions and General Provisions

        For the purposes of this Plan, except as otherwise expressly provided or unless the context
 otherwise requires, all capitalized terms not otherwise defined shall have the meanings ascribed to
 them in this Article of the Plan. Any term that is not defined herein, but is defined in the
 Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that term therein.

        2.1     The following terms, when used in this Plan, shall have the following meaning:

                2.1.1 “Administrative Expense Claim” means a Claim for payment of an
 administrative expense entitled to priority under section 507(a)(2) of the Bankruptcy Code.

               2.1.2 “Allowed Claim” shall mean a Claim or any portion thereof that is
 enforceable against Debtor or enforceable against the property of Debtor under sections 502 or
 503 of the Bankruptcy Code.

                2.1.3 “Allowed Secured Claim” shall mean the amount of the allowed Claim held
 by parties secured by property of Debtor which is equal to the amount provided by the Plan unless
 such other amount is stipulated as constituting the allowed secured claim between the parties, or
 such amount as the Bankruptcy Court allows.

              2.1.4 “Allowed Unsecured Claim” shall mean Allowed Claims which are not
 allowed administrative, priority, or secured claims.

               2.1.5 “Assets” means, collectively, all of the property, as defined by section 541
 of the Bankruptcy Code, of the Estate of Debtor (including without limitation, all of the assets,
Case 19-41154-bem        Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43            Desc Main
                                   Document     Page 3 of 33



 property, interests (including equity interests) and effects, real and personal, tangible and
 intangible, including all Avoidance Actions), wherever situated as such properties exist on the
 Effective Date or thereafter.

                2.1.6 “Avoidance Action” means any claim or cause of action of the Estate arising
 out of or maintainable pursuant to sections 502, 510, 541, 542, 543, 544, 545, 547, 548, 549, 550,
 551 or 553 of the Bankruptcy Code or any other similar applicable law, regardless of whether such
 action has been commenced prior to the Effective Date.

                2.1.7 “Ballot” means each of the ballot forms that are distributed with the
 Disclosure Statement to Holders of Claims included in the Classes that are Impaired under this
 Plan and are entitled to vote.

                2.1.8 “Bankruptcy Case” means the chapter 11 case initiated by Debtor’s filing
 on the Filing Date of a voluntary petition for relief in the Bankruptcy Court under Chapter 11 of
 the Bankruptcy Code.

                2.1.9   “Bankruptcy Code” means title 11 of the United States Code.

                2.1.10 “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Georgia, Rome Division.

                2.1.11 “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
 Procedure.

                 2.1.12 “Business Day” means any day on which the commercial banks are required
 to be open for business in Atlanta, Georgia and which is not a weekend or legal holiday recognized
 by the Bankruptcy Court or the Superior Courts of the State of Georgia.

                2.1.13 “Cash” means legal tender of the United States of America and equivalents
 thereof.

                 2.1.14 “Causes of Action” means all Avoidance Actions and any and all of
 Debtor’s actions, suits, accounts, agreements, promises, rights to payment and claims, whether
 known or unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
 contingent, matured, unmatured, disputed, undisputed, secured, unsecured, and whether asserted
 or assertable directly or derivatively, in law, equity, or otherwise.

                2.1.15 “Chapter 11” means chapter 11 of the Bankruptcy Code.

                2.1.16 “Claim” means a claim against Debtor whether or not asserted, as defined
 in section 101(5) of the Bankruptcy Code.

                2.1.17 “Classes” means a category of Claims described in this Plan.
Case 19-41154-bem        Doc 113     Filed 10/12/20 Entered 10/12/20 14:02:43              Desc Main
                                    Document     Page 4 of 33



               2.1.18 “Confirmation Date” means the date on which the Bankruptcy Court enters
 the Confirmation Order.

                2.1.19 “Confirmation Hearing” means the hearing before the Bankruptcy Court
 held to consider confirmation of this Plan and related matters under section 1128 of the Bankruptcy
 Code, as such hearing may be continued.

                2.1.20 “Confirmation Order” means the order confirming this Plan pursuant to
 section 1129 of the Bankruptcy Code that the Bankruptcy Court enters, which shall be in all
 respects reasonably acceptable to Debtor.

                2.1.21 “Debtor” shall mean American Berber, Inc., the debtor in this Bankruptcy
 Case.

                 2.1.22 “Disallowed Claim” means a Claim or any portion thereof that: (i) has been
 disallowed by a Final Order, (ii) is listed in any of Debtor’ Schedules at zero, unknown, contingent,
 disputed, or unliquidated and as to which a proof of claim bar date has been established but no
 proof of claim has been timely filed or deemed timely filed with the Bankruptcy Court, or (iii) is
 not listed in Debtor’ Schedules and as to which a proof of claim bar date has been established but
 no proof of claim has been timely filed or deemed timely filed with the Bankruptcy Court.

               2.1.23 “Disclosure Statement” means the Disclosure Statement for the Plan of
 Reorganization filed by Debtor as approved by the Bankruptcy Court pursuant to section 1125 of
 the Bankruptcy Code and Bankruptcy Rule 3017, as such Disclosure Statement may be amended,
 modified or supplemented from time to time.

                2.1.24 “Disputed Claim” means, with reference to any Claim, a Claim or any
 portion thereof, that is the subject of an objection timely filed in the Bankruptcy Court and which
 objection has not been withdrawn, settled or overruled by a Final Order of the Bankruptcy Court.

               2.1.25 “Distribution” means any distribution by Debtor or reorganized Debtor to a
 Holder of an Allowed Claim.

                2.1.26 “District Court” means the United States District Court for the Northern
 District of Georgia, Atlanta Division.

                2.1.27 “Effective Date” means the date that is 60 days after entry of a Confirmation
 Order.

                2.1.28 “Estate” means, with regard to Debtor, the estate that was created by the
 commencement by Debtor of the Bankruptcy Case pursuant to section 541 of the Bankruptcy
 Code, and shall be deemed to include, without limitation, any and all rights, powers, and privileges
 of such Debtor and any and all interests in property, whether real, personal or mixed, rights, causes
 of action, avoidance powers or extensions of time that such Debtor or such estate shall have had
 as of the commencement of the Bankruptcy Case, or which such Estate acquired after the
Case 19-41154-bem        Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43             Desc Main
                                   Document     Page 5 of 33



 commencement of the Bankruptcy Case, whether by virtue of sections 541, 544, 545, 546, 547,
 548, 549 or 550 of the Bankruptcy Code, or otherwise.

               2.1.29 “Executory Contract or Unexpired Lease” means all executory contracts
 and unexpired leases to which Debtor is a party.

                2.1.30 “Filing Date” means May 15, 2019.

                2.1.31 “Final Distribution” means the Distribution by Debtor or reorganized
 Debtor that satisfies all Allowed Claims to the extent provided in accordance with the Plan.

                 2.1.32 “Final Distribution Date” means the Distribution Date on which the Final
 Distribution is made.

                 2.1.33 “Final Order” means an order of the Bankruptcy Court, the District Court,
 or any other court as to which (i) any appeal that has been taken has been finally determined or
 dismissed, or (ii) the time for appeal has expired and no appeal has been filed timely. In the case
 of an order of the Bankruptcy Court, the time for appeal, for purposes of this definition, shall be
 the time permitted for an appeal to the District Court.

                2.1.34 “Holder” means a holder of a Claim or Interest, as applicable.

              2.1.35 “Impaired” shall have the meaning ascribed thereto in section 1124 of the
 Bankruptcy Code.

                2.1.36 “Initial Distribution Date” means the Effective Date.

                2.1.37 “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

                2.1.38 “Person” means an individual, corporation, partnership, joint venture,
 association, joint stock company, limited liability company, limited liability partnership, trust,
 estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
 Bankruptcy Code) or other entity.

               2.1.39 “Plan” means this plan of reorganization as same may hereafter be
 corrected, amended, supplemented, restated, or modified.

                2.1.40 “Priority Claim” means a Claim entitled to priority under the provisions of
 section 507(a) of the Bankruptcy Code other than an Administrative Expense Claim or a Priority
 Tax Claim.

                 2.1.41 “Priority Tax Claim” means a Claim against Debtor that is of a kind
 specified in sections 507(a)(8) of the Bankruptcy Code.

              2.1.42 “Professional Compensation” means (1) any amounts that the Bankruptcy
 Court allows pursuant to section 330 of the Bankruptcy Code as compensation earned, and
Case 19-41154-bem        Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43              Desc Main
                                   Document     Page 6 of 33



 reimbursement of expenses incurred, by professionals employed by Debtor and the unsecured
 creditors’ committee, if any, and (ii) any amounts the Bankruptcy Court allows pursuant to sections
 503(b)(3) and (4) of the Bankruptcy Code in connection with the making of a substantial
 contribution to the Bankruptcy Case.

               2.1.43 “Record Date” means any date established in the Confirmation Order or any
 other Final Order of the Bankruptcy Court for determining the identity of holders of Allowed
 Claims entitled to Distributions under this Plan. If no Record Date is established in the
 Confirmation Order or any other order of the Bankruptcy Court prior to the Confirmation Date,
 then the Record Date shall be the Confirmation Date.

                2.1.44 “Record Holder” means the Holder of a Claim as of the Record Date.

                2.1.45 “Released Parties” means Debtor.

                2.1.46 Intentionally Deleted.

                 2.1.47 “Retained Action” means all claims, Causes of Action, rights of action, suits
 and proceedings, whether in law or in equity, whether known or unknown, which Debtor or
 Debtor’ Estate may hold against any Person, including, without limitation, (i) claims and Causes
 of Action brought prior to the Effective Date, (ii) claims and Causes of Action against any Persons
 for failure to pay for products or services provided or rendered by Debtor, (iii) claims and Causes
 of Action seeking the recovery of Debtor’s rights to payment created or arising in the ordinary
 course of Debtor’ business, including without limitation, claim overpayments and tax refunds, and
 (v) all Causes of Action that are Avoidance Actions.

               2.1.48 “Schedules” means the Schedules of Assets and Liabilities Debtor filed in
 the Bankruptcy Case, as such Schedules may be amended from time to time in accordance with
 Bankruptcy Rule 1009.

                2.1.49 “Secured Claim” means a Claim against Debtor to the extent secured by a
 Lien on any property of Debtor on the Petition Date to the extent of the value of said property as
 provided in section 506(a) of the Bankruptcy Code.

                  2.1.50 “Subordinated Claim” means any Unsecured Claim that is subordinated in
 priority to all other Allowed Unsecured Claims pursuant to the provisions of section 510 of the
 Bankruptcy Code or other applicable law.

                 2.1.51 “Unimpaired” means, with respect to a Class of Claims or Interests, any
 Class that is not Impaired.

                2.1.52 “Unsecured Claim” means any Claim against Debtor that is not a Secured
 Claim, a Priority Claim, a Priority Tax Claim, or an Administrative Expense Claim.

         2.2     Time. Whenever the time for the occurrence or happening of an event as set forth
 in this Plan falls on a day which is a Saturday, Sunday, or legal holiday under the laws of the
Case 19-41154-bem         Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43                Desc Main
                                    Document     Page 7 of 33



 United States of America or the State of Georgia, then the time for the next occurrence or
 happening of said event shall be extended to the next day following which is not a Saturday,
 Sunday, or legal holiday.

          2.3     Events of Default.    Unless otherwise specifically provided in a class under the
 Plan, in the event of a default by Debtor in payments under the Plan or otherwise, the Holder must
 send written notice (“Default Notice”) to Debtor at the address of record for Debtor as reflected
 on the docket for this Bankruptcy Case, unless Debtor has provided the Holder with a written
 notice of a change of address. Such Default Notice must contain the reason for the default and if
 such default is monetary, the amount of the default and amount necessary to cure the default, as
 well as notice that Debtor has ten (10) days (in the case of a monetary default) and thirty (30) days
 (in the case of a non-monetary default) from receipt by Debtor and Debtor’s counsel of the Default
 Notice (or the following business day if the 10th or 30th day does not fall on a business day) to cure
 such default (and the address for payment, which will accept overnight deliveries, in the event of
 a monetary default). Holder must send such Default Notice to Debtor via certified mail or
 recognized overnight carrier with a copy via (i) email or (ii) fax as well as via certified mail to
 Cameron M. McCord (Jones & Walden, LLC) at the address reflected in the then current directory
 of the State of Bar of Georgia. Debtor shall have ten (10) days or thirty (30) days (as applicable)
 from Debtor’s and Debtor’s counsel’s receipt of the Default Notice to cure such default. If the
 Notice is not accepted, the Notice shall be deemed delivered three days after service by certified
 mail or overnight delivery. Receipt by Debtor’s Attorney shall not be deemed receipt by Debtor of
 the required Default Notice. Notwithstanding anything to the contrary in the Plan or otherwise, a
 default under one Class of Claims or sub-class of Claims shall not constitute a default under any
 other Class of Claims or sub-class of Claims. (For example, a default under Class 1 shall not
 constitute a default under Class 3). If the Debtor does not cure said default within the specified
 time period, then the creditor may exercise any all rights and remedies ti may have under applicable
 law. In addition, the Bankruptcy Court may retain jurisdiction to hear certain matters even after
 the case has been closed.

         2.4     Notices. All notices under the Plan shall be in writing. Unless otherwise
 specifically provided here in, all notices shall be sent to Debtor via U.S. Certified Mail Return
 Receipt or by recognized overnight carrier to the address of record for Debtor in this Case as
 reflected on the docket for this Bankruptcy Case, unless Debtor has provided such Holder with
 written notice of change of address for Debtor, with a copy via email or fax and certified mail to
 Cameron M. McCord at the address reflected in the then current directory of the State Bar of
 Georgia. Receipt of notice by Cameron M. McCord (Jones & Walden, LLC) shall not be deemed
 receipt by Debtor of the required notice. Notice to creditors may be provided (a) at the address set
 forth on the proof of claim filed by such Holder, (b) at the address set forth in any written notices
 of address change delivered to Debtor after the date of any related proof of claim, (c) at the
 addresses reflected in the Schedules if no proof of claim has been filed and Debtor has not received
 a written notice of a change of address, or (d) if the Holder’s address is not listed in the Schedules,
 at the last known address of such Holder according to the Debtor’s books and records. Notices
 shall be deemed received: (i) on the day transmitted if sent via fax or email and (ii) on the day
 delivered if sent via nationally recognized overnight delivery service or Certified Mail Return
 Receipt.
Case 19-41154-bem           Doc 113    Filed 10/12/20 Entered 10/12/20 14:02:43              Desc Main
                                      Document     Page 8 of 33



                                              Article 3
                               Classification of Claims and Interests

         3.1      Summary. The categories of Claims and Interests set forth below classify all
 Claims against Debtor for all purposes of this Plan. A Claim or Interest shall be deemed classified
 in a particular Class only to the extent the Claim or Interest qualifies within the description of that
 Class and shall be deemed classified in a different Class to the extent that any remainder of such
 Claim or Interest qualifies within the description of such different Class. The treatment with
 respect to each Class of Claims and Interests provided for in Article 4 shall be in full and complete
 satisfaction, release and discharge of such Claims and Interests.

          3.2    Classes:

                 3.2.1   Class 1 shall consist of the Asserted Priority Claim of Tom Mathis.

                 3.2.2   Class 2 shall consist of the Secured or Priority Tax Claim of the Internal
                         Revenue Service.

                 3.2.3   Class 3 shall consist of the Secured or Priority Tax Claim of the Georgia
                         Department of Revenue.

                 3.2.4   Class 4 shall consist of the Secured or Priority Tax Claims of Governmental
                         Units.

                 3.2.5   Class 5 shall consist of the General Unsecured Claims.

                 3.2.6   Class 6 shall consist of the Unsecured Convenience Class Claims.

                 3.2.7   Class 7 shall consist of the Asserted Claims of Joseph Farless.

                 3.2.8   Class 8 shall consist of the Asserted Claims of Mitch Smith.

                 3.2.9   Class 9 shall consist of Debtor’s Interest.

                                             Article 4
                                 Treatment of Claims and Interests

          The Classes, the treatment of each Class, and the voting rights of each Class are set forth
 below.

         Debtor reserves the right to pay any claim in full at any time in accordance with the terms
 of the Plan (i.e. at the percentage distribution designated in the Plan and including any accrued and
 unpaid interest, if any) without prepayment penalty.
Case 19-41154-bem         Doc 113     Filed 10/12/20 Entered 10/12/20 14:02:43               Desc Main
                                     Document     Page 9 of 33



        4.1     Class 1: Asserted Priority Claim of Tom Mathis:

        Class 1 shall consist of the asserted priority claim of Tom Mathis as asserted in American
 Berber Proof of Claim 24 2 in the amount of $12,700.00 (the “Class 1 Claim”). Debtor disputes
 such claim and shall file an objection to claim on or before the hearing date on the Plan of
 Reorganization.

        Mr. Mathis also filed a proof of claim in Howard E. Johnson, Case No. 19-41149 (the
 “Johnson Case”) and was treated in Class 4 in Mr. Johnson’s confirmed Chapter 11 plan (the
 “Johnson Plan”). Mr. Johnson also anticipates filing an objection to Mr. Mathis’ claim.
 Notwithstanding anything else in this document to the contrary, the Class 1 Claim shall be reduced
 by any payment received by the creditor holding such claim from any third party or other obligor
 and Debtor’s obligations hereunder shall be reduced accordingly.

         If the Class 1 Claim is Allowed as a priority claim, it shall be paid in full on the first
 anniversary of the Effective Date of the Plan. If the Class 1 Claim is Allowed as an unsecured
 claim, it shall be reclassified and treated as a Class 5 claim. If the Class 1 Claim is disallowed,
 Debtor shall not pay anything on such claim.

          The Claim of the Class 1 Creditor is Impaired by the Plan and the holder of Class 1 Claim
 is entitled to vote to accept or reject the Plan.

        Nothing herein shall constitute an admission as to the nature, validity, or amount of such
 claim. Debtor reserves the right to object to any and all claims.

        4.2     Class 2: Secured or Priority Tax Claim of the Internal Revenue Service:

         Class 2 shall consist of the Secured Claims or Priority Tax Claims held by the Internal
 Revenue Service (the “IRS”) which were assessable or due and payable prior to the Filing Date or
 treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) (the “Class 2 IRS Tax
 Claim”). The IRS asserts (i) priority claims of $20,448.49 in taxes and interest asserted in
 American Berber proof of Claim 9 and $600.00 in estimated taxes asserted in American Carpet
 proof of claim 7 and (ii) general unsecured claims of $9,997.27 under the American Berber proof
 of claim 9 and $1,600.00 under American Carpet proof of claim 7.

         The Government Bar Date for filing proofs of claim is fixed by 11 U.S.C. §502 and was
 November 12, 2019. Any claim asserted or assertable by the IRS on or before the Filing Date or
 treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) shall: (i) be time barred
 and fixed as provided in the Plan, subject to Debtor’s right to object to the same and (ii) any other,
 additional or amended claim assessable on or prior to the Filing Date shall be disallowed in its
 entirety and forever discharged. Debtor shall pay any claim of the IRS assessable, arising prior to
 the Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) on the


 2
   Because this is a case involving substantial consolidation, this Plan shall refer to the specific case
 in which each proof of claim has been filed. Examples include “American Berber proof of claim
 1” or “AB1” or “American Carpet proof of claim 1” or “AC1”.
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                Document    Page 10 of 33



 terms herein, and the IRS shall be permanently enjoined from seeking payment in excess of the
 amounts provided for in the Plan for such claims.

     A. Class 2A IRS Unsecured Priority Tax Claim

        Class 2A shall consist of the Unsecured Priority Tax Claims of the IRS. Debtor is aware
 of the of Class 2A IRS Unsecured Priority Tax Claims totaling $21,048.49 consisting of (i)
 $20,448.49 in taxes and interest asserted in American Berber proof of Claim 9, and (ii) $600.00 in
 estimated taxes asserted in American Carpet proof of claim 7. 3

         Debtor will pay the Class 2A IRS Unsecured Priority Tax Claim in equal monthly
 payments of $568.88 each, commencing on the 28th day of the 1st full month following the
 Effective Date and continuing by the 28th day of each subsequent month until the Class 2A Priority
 Tax Claim is paid in full. Notwithstanding anything to the contrary herein, Debtor shall pay the
 full balance of the Class 2A IRS Unsecured Priority Tax Claim on the 60th month following the
 Filing Date (i.e. May 15, 2024) unless the IRS agrees to accept payments beyond said date, which
 the IRS may communicate by continuing to accept payments by Debtor. Interest shall accrue on
 the principal balance of the Class 2B Unsecured Priority Tax Claim at the annual rate of 3% or
 such lesser rate as agreed to by the IRS. Any third-party payments or payments in excess of the
 scheduled distribution pursuant to Class 2A received by the Internal Revenue Service shall be
 applied to the principal tax obligation of the Class 2A Priority IRS Tax Claim owed by Debtor
 pursuant to Class 2A until paid in full.

         A failure by the Debtor to make a payment on the Class 2A IRS Unsecured Priority Tax
 Claim to the IRS pursuant to the terms of the Plan shall be an event of default as to the IRS. In the
 event of a default under Class 2A IRS Unsecured Priority Tax Claim, the IRS must send a Default
 Notice to Debtor in accordance with Article 2.3 of the Plan. Such Default Notice must contain the
 reason for the default and if such default is monetary, the amount of the default and amount
 necessary to cure the default and the address for payment, which will accept overnight deliveries.
 Receipt by Debtor’s attorney shall not be deemed receipt by Debtor of the required Default Notice.
 In the event of an uncured default under Class 2A IRS Unsecured Priority Tax Claim following
 proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of the Plan, the
 IRS may (a) enforce the entire amount of its then outstanding Allowed Class 2A IRS Unsecured
 Priority Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
 bankruptcy law regarding the Allowed Class 2A IRS Unsecured Priority Tax Claim; and (c) seek
 such relief as may be appropriate in the Bankruptcy Court.

        Nothing herein shall constitute an admission as to the nature, validity, or amount of claim.
 Debtor reserves the right to object to any and all claims.




 3
   Much of the American Berber proof of claim 9 and all of the American Carpet proof of claim 7
 are comprised of estimated corporate and FICA taxes. Debtor believes that such tax is not owed
 and anticipates obtaining proof of payment to request the IRS to amend its proof of claim or
 objecting to such claim.
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 11 of 33



         Debtor reserves the right to pay any claim in full at any time in accordance with the terms
 of the Plan (i.e. at the percentage distribution designated in the Plan and including any accrued and
 unpaid interest, if any) without prepayment penalty.

         The Holder of the Class 2A claim is impaired and entitled to vote to accept or reject the
 Plan.

    B. General Unsecured Tax Claims

        The balance of the American Berber proof of claim 9 (i.e. $9,997.27) and American Carpet
 proof of claim 7 (i.e. $1,600.00), together with any further or additional general unsecured tax
 claim for taxes, penalties or otherwise held by the IRS is and shall be and is classified as a general
 unsecured tax claim and shall be treated in accordance with Class 5 below.

         4.3    Class 3:        Secured or Priority Tax Claim of the Georgia Department of
                Revenue:

        Class 3 shall consist of any Secured Claim or Priority Tax Claim held by the Georgia
 Department of Revenue (the “GDR”) which was assessable or due and payable prior to the Filing
 Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) (the “Class 3 GDR
 Tax Claim”). Debtor is not aware of any claim filed by the GDR nor has it scheduled any amount
 due and owing to the GDR.

          Any Class 3 GDR Tax Claim (or as otherwise allowed by the Court) shall be paid pursuant
 to Class 3, and any GDR general unsecured tax claim is specifically classified and will be paid
 pursuant to the General Unsecured Class 5. Debtor shall pay the Allowed Class 3 GDR Tax Claim
 in equal monthly payments commencing on the 28th day of the first full month following the
 Effective Date and continuing by the 28th day of each subsequent month (or the next Business Day
 if the 28th day is not a business day). Interest shall accrue on the principal amount due from the
 Effective Date at the annual rate of the prime rate as published by the Wall Street Journal on the
 Effective Date plus three (3) percent per annum or such lesser rate as (i) agreed to by the GDR or
 (ii) indicated on the applicable GDR proof of claim. Notwithstanding anything to the contrary
 herein, Debtor shall pay the balance of the Allowed Class 3 GDR Tax Claim with a balloon
 payment on the 5-year anniversary of the Filing Date (i.e. May 15, 2024) unless the GDR agrees
 to a longer payment term, which such agreement may be communicated by the GDR continuing
 to accept monthly payments after May 15, 2024. Any third-party payments or payments in excess
 of the scheduled distribution pursuant to Class 3 received by the Georgia Department of Revenue
 shall be applied to the principal tax obligation of the Class 3 GDR Tax Claim owed by Debtor
 pursuant to Class 3. Debtor’s Class 3 payments shall be applied in the following order: (i) interest
 accruing on the Class 3 GDR Tax Claim after the Effective Date under the Plan, (ii) the taxes
 included in the Class 3 GDR Tax Claim and (iii) interest and penalties which accrued prior to the
 Filing Date and Effective Date.
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 12 of 33



         The Government Bar Date for filing proofs of claim is fixed by 11 U.S.C. §502 and was
 November 12, 2019. Any claim asserted or assertable by the GDR on or before the Filing Date or
 treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) shall: (i) be time barred
 and fixed as provided in the Plan, subject to Debtor’s right to object to the same and (ii) any other,
 additional or amended claim assessable on or prior to the Filing Date shall be disallowed in its
 entirety and forever discharged. Debtor shall pay any claim of the GDR assessable, arising prior
 to the Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C. §502(i) on the
 terms herein, and the GDR shall be permanently enjoined from seeking payment in excess of the
 amounts provided for in the Plan for such claims.

         A failure by the Debtor to make a payment on the Class 3 GDR Tax Claim to the GDR
 pursuant to the terms of the Plan shall be an event of default as to the GDR. In the event of a
 default under Class 3, the GDR must send a Default Notice to Debtor in accordance with Article
 2.3 of the Plan. Such Default Notice must contain the reason for the default and if such default is
 monetary, the amount of the default and amount necessary to cure the default and the address for
 payment, which will accept overnight deliveries. Receipt by Debtor’s Attorney shall not be
 deemed receipt by Debtor of the required Default Notice. In the event of an uncured default
 following proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of the
 Plan, the GDR may: (a) enforce the entire amount of its then outstanding Allowed Class 3 GDR
 Tax Claim; (b) exercise any and all rights and remedies it may have under applicable non-
 bankruptcy law regarding the Allowed Class 3 GDR Tax Claim; and (c) seek such relief as may
 be appropriate in the Bankruptcy Court.

         The amount of any claim of the GDR that is not otherwise assessable or due and payable
 on or prior to the Filing Date or treated as arising prior to the Filing Date pursuant to 11 U.S.C.
 §502(i) shall, and the right of the GDR, if any, to payment in respect thereto shall (i) be determined
 in the manner in which the amount of such Claim and the rights of the GDR would have been
 resolved or adjudicated if the Bankruptcy Case had not been commenced, (ii) survive after the
 Effective Date as if the Bankruptcy Case had not been commenced, and (iii) not be discharged
 pursuant to section 1141 of the Bankruptcy Code. However, the rights and treatment of the GDR
 and obligations and liability of Debtor or its property regarding any claim of the GDR against
 Debtor which was assessable or due and payable prior to the Filing Date or treated as arising prior
 to the Filing Date pursuant to 11 U.S.C. §502(i) shall be treated and fixed in accordance with the
 Plan, and any additional, other or amended claims assessable or due and payable prior to the Filing
 Date and not timely asserted or amended by the GDR in accordance with the Bankruptcy Code
 and the Plan and in all instances prior to entry of the Confirmation Order, shall be forever barred.
 Debtor reserves the right to pay any tax claim in full at any time.

        The Claim of the Class 3 Creditor is Impaired by the Plan and the holder of the Class 3
 Claim is entitled to vote to accept or reject the Plan.

        Nothing herein shall constitute an admission as to the nature, validity, or amount of such
 claim. Debtor reserves the right to object to any and all claims.
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 13 of 33




        4.4     Class 4: Priority or Secured Tax Claims of Tennessee Department of Labor –
                Bureau of Unemployment Insurance; Other Governmental Units Not
                Otherwise Classified:

          Class 4 shall consist of any Priority or Secured Claim of the Tennessee Department of
 Labor – Bureau of Unemployment Insurance and any other governmental unit entitled to priority
 under 11 U.S.C. §507(a)(8) which is not otherwise specifically classified in the Plan (“Class 4
 Governmental Unit Claim”). The amount of any claim of a Governmental Unit that is not assessed
 or assessable on or prior to the Effective Date, and the right of the particular governmental unit, if
 any, to payment in respect thereto shall (i) be determined in the manner in which the amount of
 such Claim and the rights of the particular governmental unit would have been resolved or
 adjudicated if the Bankruptcy Case had not been commenced, (ii) survive after the Effective Date
 as if the Bankruptcy Case had not been commenced, and (iii) not be discharged pursuant to section
 1141 of the Bankruptcy Code if applicable. The Tennessee Department of Labor – Bureau of
 Unemployment Insurance filed American Berber proof of claim 26 asserting a priority claim under
 § 507(a)(8) for $983.58 (the “TNDOL Priority Claim”). Debtor shall pay such TNDOL Priority
 Claim at the rate of $100 per month commencing on the 28th day of the first full month following
 the Effective Date and continuing by the 28th day of each subsequent month (or the next Business
 Day if the 28th day is not a Business Day) with interest accruing at the annual rate of 5.5% or at
 the rate otherwise as required by the Bankruptcy Code, until paid in full.

         Debtor is not aware of any other Holders of Class 4 Governmental Unity Claims not
 otherwise classified in the Plan. In the event there are other Allowed Holders of Class 4
 Governmental Unit Priority Tax Claims, Debtor shall pay such Allowed Class 4 Government Unit
 Priority Tax Claims at the rate of $100 per month commencing on the 28th day of the first full
 month following the Effective Date and continuing by the 28th day of each subsequent month (or
 the next Business Day if the 28th day is not a Business Day), with interest accruing at the annual
 rate of 5.5% or at the rate otherwise as required by the Bankruptcy Code, with a final balloon
 payment on the 5th anniversary of the Filing Date (i.e. May 15, 2024) unless such Holder agrees to
 a longer payment term, which such agreement may be communicated by the Holder continuing to
 accept monthly payments after May 15, 2024. Debtor reserves the right to pay any Class 4
 Governmental Unit Claim in full at any time. Debtor is authorized to sell its assets free and clear
 of liens and pay the proceeds of such sale in the order of priority of liens as described in the Sale
 Procedures (as defined below) to the extent of the proceeds. Specifically, Debtor is authorized to
 sell any asset free and clear of any asserted tax lien, and pay any proceeds from the sale of any
 such asset in accordance with the Sale Procedures.

         A failure by the Debtor to make a payment under Class 4 to the Holder of a Class 4
 Governmental Unit Tax Claim pursuant to the terms of the Plan shall be an event of default as to
 such Governmental Unit. In the event of a default under Class 4, the Holder of a Class 4
 Governmental Unit Tax Claim must send a Default Notice to Debtor in accordance with Article
 2.3 of the Plan. Such Default Notice must contain the reason for the default and if such default is
 monetary, the amount of the default and amount necessary to cure the default and the address for
 payment, which will accept overnight deliveries. Receipt by Debtor’s Attorney shall not be
 deemed receipt by Debtor of the required Default Notice. In the event of an uncured default
Case 19-41154-bem              Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43             Desc Main
                                      Document    Page 14 of 33



 following proper Default Notice procedures and opportunity to cure pursuant to Article 2.3 of the
 Plan, the Holder of a Class 4 Governmental Unit Tax Claim may (a) enforce the entire amount of
 its then outstanding Allowed Class 4 Governmental Unit Tax Claim; (b) exercise any and all rights
 and remedies it may have under applicable non-bankruptcy law regarding the Allowed Class
 Governmental Unit Tax Claim; and (c) seek such relief as may be appropriate in the Bankruptcy
 Court.

        The Claim of any Class 4 Creditor is Impaired by the Plan and the holder of the Class 4
 Claim is entitled to vote to accept or reject the Plan.

        Nothing contained herein shall prohibit Debtor from objecting to the Class 4 Claims for
 any reason.

           4.5      Class 5:          General Unsecured Claims:

         Class 5 shall consist of General Unsecured Claims. Debtor shall pay the General Unsecured
 Creditors in full without interest in five equal annual payments, commencing on May 5 of the first
 full year following the Effective Date, continuing on May 5 of the following three years, and
 ending with a final payment on May 5 of the fifth full year following the Effective Date.

        Debtor anticipates and projects but does not warrant the following Holders of Class 5
 Claims and the following distributions:

                                                                                       Estimated
                                                      Estimated       Estimated        Percentage
     Anticipated     Proof of Estimated               Annual          Total            Total
     Holder          Claim    Claim                   Distribution    Distribution     Distribution
     ADD-BAC         AB23     $ 151,318.96            $ 30,263.79     $ 151,318.96            100%
     American
     Express
     Travel
     Related
     Services
     Company,
     Inc.            AC2          $       4,723.53    $      944.71   $    4,723.53           100%
     Bill
     Smitherman
     CPA LTD         AB14         $       5,050.00    $    1,010.00   $    5,050.00           100%
     Binsfield
     Engineering     AC9          $       1,710.05    $      342.01   $    1,710.05           100%
     Camden
     Flooring Co.    AB20         $          0.00 4   $        0.00   $        0.00             0%
     Capital One                  $       1,221.92    $      244.38   $    1,221.92           100%


 4
     Debtor has objected or will object prior to the confirmation hearing to this proof of claim.
Case 19-41154-bem       Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43   Desc Main
                               Document    Page 15 of 33



 Carpet
 Capital Fire
 Protection                $    2,109.00   $      421.80   $    2,109.00    100%
 Combustion
 & Controls
 Solution       AC6        $    8,273.86   $    1,654.77   $    8,273.86    100%
 D &W
 Paper Tube
 Inc.                      $    2,499.00   $      499.80   $    2,499.00    100%
 Dak
 America                   $   31,219.20   $    6,243.84   $   31,219.20    100%
 Epic
 Enterprises
 Inc                       $    4,375.29   $      875.06   $    4,375.29    100%
 eShipping,
 LLC            AB15       $   18,918.27   $    3,783.65   $   18,918.27    100%
 FILPA          AB18/
 USA, Inc       AC10       $   65,235.72   $   13,047.14   $   65,235.72    100%
 First Source
 Worldwide,
 LLC            AB11       $    5,545.06   $    1,109.01   $    5,545.06    100%
 Georgia
 Machine        AB5        $    4,465.00   $      893.00   $    4,465.00    100%
 Georgia
 Power          AB25       $   67,484.05   $   13,496.81   $   67,484.05    100%
 Grady
 Stafford                  $    1,152.00   $      230.40   $    1,152.00    100%
 Graphic
 Tufting
 Center Inc                $    3,521.67   $      704.33   $    3,521.67    100%
 Greenville
 Colarants                 $    4,106.85   $      821.37   $    4,106.85    100%
 H&H Sales,
 Inc. dba
 Morgan Lee
 Supply         AB7        $    2,533.47   $      506.69   $    2,533.47    100%
 Hayes
 Plumbing &
 Elec. Inc                 $    3,382.10   $      676.42   $    3,382.10    100%
 IRS            AB9        $    9,997.27   $    1,999.45   $    9,997.27    100%
 IRS            AC7        $    1,600.00   $      320.00   $    1,600.00    100%
 Lawson         AB19/
 Electric       AC11       $   19,886.00   $    3,977.20   $   19,886.00    100%
Case 19-41154-bem      Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43   Desc Main
                              Document    Page 16 of 33



 Metal
 Crafters AG,
 Inc.           AB10      $    6,474.95   $    1,294.99   $    6,474.95    100%
 Millis
 Corporate
 Offices                  $   14,516.07   $    2,903.21   $   14,516.07    100%
 Oerilkon       AB8       $   11,788.93   $    2,357.79   $   11,788.93    100%
 Pasco Parts
 & Systems
 Co. Inc        AC5       $    2,200.00   $      440.00   $    2,200.00    100%
 Phoenix
 Chemical
 Company
 LLC                      $    3,235.20   $      647.04   $    3,235.20    100%
 Polymer
 Solutions
 Group
 Finance,
 LLC d/b/a
 Phoenix
 Chemical
 Company        AB27      $   79,980.18   $   15,996.04   $   79,980.18    100%
 ProGlobal
 Products
 LLC            AB12      $    5,690.92   $    1,138.18   $    5,690.92    100%
 Radco
 Industries
 Inc                      $    2,341.11   $      468.22   $    2,341.11    100%
 Southeastern
 Freight
 Lines Inc.     AB16      $    4,071.45   $      814.29   $    4,071.45    100%
 Southern
 Lubes &
 Fuels          AC4       $    4,096.97   $      819.39   $    4,096.97    100%
 Techmer
 PM Polymer
 Modifiers                $    2,920.32   $      584.06   $    2,920.32    100%
 The
 McCurry
 Law Firm,
 LLC            AB3       $   13,984.66   $    2,796.93   $   13,984.66    100%
 W.W.
 Grainger,
 Inc.           AB1       $    1,156.68   $      231.34   $    1,156.68    100%
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43              Desc Main
                                Document    Page 17 of 33



  Whitfield
  Electric
  Motor Sales    AB4        $      12,598.84    $     2,519.77   $ 12,598.84              100%
  Total                     $     586,438.13    $   117,076.88   $ 586,438.13             100%

        Certain creditors listed above, including (i) CapitalOne, (ii) Georgia Power and (iii) The
 McCurry Law Firm, LLC, filed a substantially identical proof of claim in the Johnson Case and
 was treated in Class 4 in the Johnson Plan. Notwithstanding anything else in this document to the
 contrary, any claim listed above shall be reduced by any payment received by the creditor holding
 such claim from any third party or other obligor and Debtor’s obligations hereunder shall be
 reduced accordingly.

        The Claims of the Class 5 Creditors are Impaired by the Plan and the holders of Class 5
 Claims are entitled to vote to accept or reject the Plan.

        Nothing herein shall constitute an admission as to the nature, validity, or amount of such
 claim. Debtor reserves the right to object to any and all claims.

        4.6     Class 6: Unsecured Convenience Class Claims:

        Class 6 shall consist of unsecured claims less than or equal to $1,000.00. Holders of
 Allowed Class 6 Claims shall be paid in full without interest on January 5th of the first year
 following Effective Date. Debtor anticipates payments to unsecured creditors based upon the
 following Holders of Class 6 Claims and following distributions:

        Anticipated       Proof     Estimated           Estimated Total    Estimated
        Holders           of        Claim               Distribution       Percentage
                          Claim                                            Total
                                                                           Distribution
        ARCO                        $          766.25   $        766.25             100%
        Auto Plus Auto
        Parts                       $          629.34   $        629.34             100%

        Averitt Express AB2         $           79.20   $         79.20             100%
        Blalock
        Machine Shop
        LLC                         $          225.00   $        225.00             100%
        Calhoun LP
        Gas                         $          875.58   $        875.58             100%
        Calhoun
        Wholesale
        Supply                      $           88.83   $         88.83             100%
Case 19-41154-bem      Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43    Desc Main
                              Document    Page 18 of 33



      Caylor
      Industrial
      Sales, Inc.      AB22     $      269.21   $     269.21              100%
      Comcast
      Business                  $      202.34   $     202.34              100%
      Fastenal         AB17     $      252.46   $     252.46              100%
      Fi-Tech, Inc.    AC8      $      157.56   $     157.56              100%

      Georgia Carpet
      Finishers Inc    AC1      $      688.78   $     688.78              100%
      Georgia
      Natural Gas      AC13     $      703.01   $     703.01              100%

      Holston Gases             $      581.97   $     581.97              100%
      Marketing
      Alliance Group
      Inc              AB13     $      750.00   $     750.00              100%
      Michael
      Johnston                  $      252.00   $     252.00              100%
      Motion
      Industries                $       98.26   $      98.26              100%
      Osterman
      Propane LLC      AB6      $      875.58   $     875.58              100%

      Rockholt
      Equipment Inc.            $       38.20   $      38.20              100%

      Samplemasters,
      Inc                       $      286.92   $     286.92              100%

      Santex Waste
      Services                  $      585.96   $     585.96              100%

      Southeastern
      Supply Inc     AC3        $      149.10   $     149.10              100%
      Tennessee
      Department of
      Labor – Bureau
      of
      Unemployment
      Insurance      AB26      $        70.00 $        70.00              100%
      Testing
      Services                  $      190.00   $     190.00              100%
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                 Desc Main
                                 Document    Page 19 of 33



        Uline                        $         626.70    $         626.70               100%

        United States
        Postal Service               $         243.00    $         243.00               100%
        UPS                          $         455.00    $         455.00               100%

        Whitfield
        Trailer Leasing              $         160.50    $         160.50               100%
        Xpress Paper
        & Chemical
        LLC                          $         508.04    $         508.04               100%


        Total                        $      10,808.79    $       10,808.79              100%

        The Claim of any Class 6 Creditor is Impaired by the Plan and the holder of the Class 4
 Claim is entitled to vote to accept or reject the Plan.

         Nothing contained herein shall prohibit the Debtor from objecting to the Class 6 Claims
 for any reason.

        4.7     Class 7: Asserted Claims of Joseph Farless

         Class 7 consists of the claim of Joseph Farless filed on July 30, 2019 as proof of claim 11
 in the amount of $636,363.63 (the “Asserted Farless Claim”). Debtor and Johnson removed the
 pending Gordon County Superior Court Action to the Bankruptcy Court, where it became
 Adversary Proceeding No. 19-4027-bem (the “Farless Adversary Proceeding”). The Farless
 Adversary Proceeding is currently pending before the Bankruptcy Court. The Asserted Farless
 Claim shall be modified by any Final Order authorizing or approving a settlement or issuing a
 judgment in the Farless Adversary Proceeding and such amount shall be the “Allowed Farless
 Claim.” To the extent that there is any Allowed Farless Claim, such claim shall be satisfied in full
 as provided for in Class 5 of the Johnson Plan.

        The Holders of the Class 6 Claims are impaired and entitled to vote to accept or reject the
 Plan. Nothing contained herein shall prohibit the Debtor from objecting to the Class 6 Claims for
 any reason.

        Nothing herein shall constitute an admission as to the nature, validity, or amount of a claim.
 Debtor reserves the right to object to any and all claims.

        4.8     Class 8: Asserted Claims of Mitch Smith

         Class 8 consists of the contingent claim of Mitchell Smith in the amount of $700,000.00
 (the “Asserted Smith Claim”). Debtor and Johnson filed Adversary Proceeding No. 19-04230-bem
 asserting claims against Smith including but not limited to preference claims pursuant to 11 U.S.C.
Case 19-41154-bem          Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                  Document    Page 20 of 33



 § 547 (the “Smith Adversary Proceeding”). The Smith Adversary Proceeding is currently pending
 before the Bankruptcy Court. The Asserted Smith Claim shall be modified by any Final Order
 authorizing or approving a settlement or issuing a judgment in the Smith Adversary Proceeding
 against Smith and in favor of Johnson or Debtor. Such amount shall be the “Allowed Smith Claim.”
 To the extent that there is any Allowed Smith Claim, such claim shall be satisfied as provided in
 Class 6 of the Johnson Plan.

        The Claims of the Class 8 Creditor is Impaired by the Plan and the holder of a Class 8
 Claim is entitled to vote to accept or reject the Plan.

        Nothing herein shall constitute an admission as to the nature, validity, or amount of a claim.
 Debtor reserves the right to object to any and all claims.

           4.9    Class 9: Interest Claims:

         Class 9 consists of the Interest Claims. All pre-petition interests in the Debtor (including
 both American Berber, Inc. and American Carpet Group, Inc.) shall be cancelled. 100% of the
 ownership in Debtor will be issued to Howard E. Johnson in exchange for new value of $15,000.00
 paid to the Debtor on the effective date.

         Notwithstanding anything to the contrary in this Plan or in Debtor’s organizational
 documents, Debtor shall be authorized make distributions to any shareholders in the amount of
 actual taxes attributable to Debtor and required to be paid by such shareholder.

           4.10   Sale Procedures

         After the Confirmation Date, Debtor is authorized to sell or refinance assets, free and clear
 of liens, claims and encumbrances in the Plan and described herein (the “Sale Procedures”). In
 the event the applicable assets are subject to secured claims, Debtor is authorized to sell or
 refinance such property free and clear of liens, claims and encumbrances on the following terms:

           (i)    If selling or refinancing substantially all of its property, Debtor may sell or
                  refinance such property for any amount (a release amount) that is at least equal the
                  outstanding amount of Allowed Secured Claims securing such property; and

           (ii)   If selling or refinancing a portion of its property, Debtor may sell or refinance such
                  property for any amount (a release amount) that is at least equal to the outstanding
                  amount of the Allowed Secured Claims securing such property.

 Such amounts are referred to in the Plan as the “Release Amount. 5” The Release Amount, after
 payment of customary closing costs including broker fees and other items customarily attributed
 to the seller (in a sale) and borrower (in a refinancing), shall be paid as follows: (i) first to cover
 any ad valorem property taxes associated with the particular asset, (ii) then secured claims in order
 of priority, to the extent of available proceeds, and (iii) then to fund Debtor’s other obligations as


 5
     Nothing herein shall prohibit or bar a creditor from accepting a lesser Release Amount.
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43               Desc Main
                                 Document    Page 21 of 33



 set forth in the Plan.

        The Bankruptcy Court shall retain jurisdiction to reopen the Bankruptcy Case, if
 applicable, and resolve any disputes regarding the Sale Procedures herein.

                                           Article 5
                                Treatment of Unclassified Claims

        5.1     Summary. Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative
 Expense Claims against Debtor are not classified for purposes of voting on, or receiving
 Distributions under the Plan. Holders of such Claims are not entitled to vote on the Plan. All such
 Claims are instead treated separately in accordance with Article 5 of the Plan and in accordance
 with the requirements set forth in section 1129(a)(9)(A) of the Bankruptcy Code.

         With respect to potential Administrative Expense Claims, Debtor, pursuant to Court order,
 retained the law firm of Jones & Walden, LLC (“Firm”) to serve as bankruptcy counsel. As set
 forth in the employment application and supporting documents, the Firm received a prepetition
 retainer in the amount of $20,000.00 in the Chapter 11 case of American Berber, Inc. and a
 prepetition retainer in the amount of $20,000.00 in the Chapter 11 case of American Carpet Group,
 Inc. As of the date hereof, the fees and expenses incurred by the Firm have exceeded the retainer.
 Debtor shall pay any unpaid allowed Administrative Expense Claim held by the Firm on the
 Effective Date unless otherwise agreed to by the Firm. Debtor is not aware of any other
 Administrative Expense Claims. The Firm shall retain its security interest in the pre-petition
 retainer. Debtor is paying post-petition bills and does not expect any claims for unpaid post-
 petition goods and services other than possible professional fees. Debtor will incur quarterly
 trustee fees which Debtor intends to pay when due.

         5.2     Administrative Expense Claims.

                5.2.1 Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy
 Code, each holder of an Allowed Administrative Expense Claim will be paid the full unpaid
 amount of such Allowed Administrative Expense Claim in Cash on the latest of (1) the Effective
 Date, (ii) as soon as practicable after the date on which such Claim becomes an Allowed
 Administrative Expense Claim, (iii) upon such other terms as may be agreed upon by such holder
 and Debtor, or (iv) as otherwise ordered by the Bankruptcy Court; provided, however, that
 Allowed Administrative Expense Claims representing obligations incurred by Debtor in the
 ordinary course of business after the Filing Date, or otherwise assumed by Debtor on the Effective
 Date pursuant to this Plan, including any tax obligations arising after the Effective Date, will be
 paid or performed by Debtor when due in accordance with the terms and conditions of the
 particular agreements or non-bankruptcy law governing such obligations.

               5.2.2 Except as otherwise provided in this Plan, any Person holding an
 Administrative Expense Claim, other than an Administrative Expense Claim arising from the
 operation by Debtor of its business in the ordinary course of business, shall file a proof of such
 Administrative Expense Claim with the Bankruptcy Court within thirty (30) days after the
 Confirmation Date. At the same time any Person files an Administrative Expense Claim, such
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                Document    Page 22 of 33



 Person shall also serve a copy of the Administrative Expense Claim upon counsel for Debtor. Any
 Person who fails to timely file and serve a proof of such Administrative Expense Claim shall be
 forever barred from seeking payment of such Administrative Expense Claims by Debtor or the
 Estate.

                5.2.3 Any Person seeking an award by the Bankruptcy Court of Professional
 Compensation shall file a final application with the Bankruptcy Court for allowance of
 Professional Compensation for services rendered and reimbursement of expenses incurred through
 the Effective Date within thirty (30) days after the Confirmation Date or by such other deadline as
 may be fixed by the Bankruptcy Court.

        Debtor may pay professional fees incurred after confirmation of the Plan without Court
 approval. Debtor shall pay all pre-confirmation fees of professionals as payment of same is
 approved by the Court.

                                            Article 6
                            Means for the Implementation of the Plan

         6.1     Parties Responsible for Implementation of the Plan. Upon confirmation, Debtor
 will be charged with administration of the Case. Debtor will be authorized and empowered to take
 such actions as are required to effectuate the Plan. Debtor will file all post-confirmation reports
 required by the United States Trustee’s office. Debtor will also file the necessary final reports and
 will apply for a final decree as soon as practicable after substantial consummation and the
 completion of the claims analysis and objection process. Debtor shall be authorized to reopen this
 case after the entry of a Final Decree to enforce the terms of the Plan including for the purpose of
 seeking to hold a party in contempt or to enforce the confirmation or discharge injunction or
 otherwise afford relief to Debtor.

        6.2     Sources of Cash for Distribution.


        The source of funds for the payments pursuant to the Plan is the continued operation of
 the Business as well as potential recovery under the pending adversary proceeding against James
 Mitchell Smith.

        The Plan provides that Debtor shall act as the Disbursing Agent to make payments under
 the Plan unless Debtor appoints some other entity to do so. Debtor may maintain bank accounts
 under the confirmed Plan in the ordinary course of business. Debtor may also pay ordinary and
 necessary expenses of administration of the Plan in due course.

         6.3     Preservation of Causes of Action. In accordance with section 1123(b)(3) of the
 Bankruptcy Code, Debtor will retain and may (but is not required to) enforce all Retained Actions.
 After the Effective Date, Debtor, in its sole and absolute discretion, shall have the right to bring,
 settle, release, compromise, or enforce such Retained Actions (or decline to do any of the
 foregoing), without further approval of the Bankruptcy Court. Debtor (or any successors, in the
 exercise of their sole discretion), may pursue such Retained Actions so long as it is the best
 interests of Debtor (or any successors holding such rights of action). The failure of Debtor to
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                   Desc Main
                                 Document    Page 23 of 33



 specifically list any claim, right of action, suit, proceeding or other Retained Action in this Plan
 does not, and will not be deemed to, constitute a waiver or release by Debtor of such claim, right
 of action, suit, proceeding or other Retained Action, and Debtor will retain the right to pursue such
 claims, rights of action, suits, proceedings and other Retained Actions in their sole discretion and,
 therefore, no preclusion doctrine, collateral estoppel, issue preclusion, claim preclusion, estoppel
 (judicial, equitable or otherwise) or laches will apply to such claim, right of action, suit, proceeding
 or other Retained Actions upon or after the confirmation or consummation of this Plan. Debtor
 reserves all causes of actions for breach of any former or now existing agreement or otherwise.
 Debtor specifically reserves any cause of action against any of Debtor’s account debtors related to
 underpayment or non-payment of any fees, or other monies or receivables due. Neither the
 Disclosure Statement nor Plan shall be deemed a waiver of any right of Debtor to collect any
 receivable or right to payment under any applicable laws. Debtor expressly reserves the right to
 exercise any and all remedies available to Debtor regarding its accounts receivable or rights to
 payment at law or in equity, at such time or times as Debtor from time to time may elect. The
 Disclosure Statement and Plan are filed with a full reservation of rights. Any failure by Debtor to
 assert or set forth the occurrence of any other default or events of default which may have occurred
 shall not be deemed to be a waiver, release or estoppel of such other default or event of default.
 Debtor hereby expressly reserves the right to declare any such other default or event of default and
 to take such other action as Debtor may be entitled to applicable law. No delay on the part of
 Debtor in exercising any right or remedy shall operate as a waiver in whole or in part of any right
 or remedy. The Disclosure Statement and Plan are filed with a full reservation of rights.

         6.4      Effectuating Documents, Further Transactions. Debtor is authorized to execute,
 deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
 documents, and take such action as may be necessary, desirable or appropriate to effectuate and
 further evidence the terms and conditions of this Plan or to otherwise comply with applicable law.

          6.5      Exemption from Certain Transfer Taxes and Recording Fees. Pursuant to 11 U.S.C.
 §1146(a), O.C.G.A. §48-6-65(a)(2), Ga. Comp. R. & Regs. R. 560-11-8.14 and any other
 applicable laws, codes or regulations, any transfers from Debtor to any other Person or entity
 pursuant to or in contemplation of this Plan, or any agreement regarding the transfer of title to or
 ownership of any of Debtor’s real or personal property will not be subject to any document
 recording tax, stamp tax, conveyance fee, sales tax, intangibles or similar tax, mortgage tax, stamp
 act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
 fee, or other similar tax or governmental assessment. Without limitation of the foregoing, the
 Confirmation Order may direct the appropriate state or local governmental officials or agents to
 forego the collection of any such tax or governmental assessment and to accept for filing and
 recordation any of the foregoing instruments or other documents without the payment of any such
 tax or governmental assessment.

         6.6     Further Authorization. Debtor shall be entitled to seek such orders, judgments,
 injunctions and rulings as it deems necessary or desirable to carry out the intentions and purposes,
 and to give full effect to the provisions, of this Plan.

         6.7    Liabilities of Debtor. Debtor will not have any liabilities except those expressly
 stated or assumed under the Plan. Debtor will be responsible for all expenses incurred by Debtor
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 24 of 33



 in the ordinary course of business after the Filing Date, and those expenses will be paid in the
 ordinary course of business as they become due or as agreed upon by holders of the expense claim.

                                              Article 7
                                            Distributions

         7.1     Disbursing Agent. Unless otherwise provided for herein, all Distributions under
 this Plan shall be made by Debtor or its agent.

        7.2      Distributions of Cash. Any Distribution of Cash made by Debtor pursuant to this
 Plan shall, at Debtor’s option, be made by check drawn on a domestic bank or by wire transfer
 from a domestic bank or in any other form of cash or cash equivalent.

         7.3     No Interest on Claims or Interests. Unless otherwise specifically provided for in
 this Plan, the Confirmation Order, or a postpetition agreement in writing between the Debtor and
 a Holder, postpetition interest shall not accrue or be paid on Claims, and no Holder shall be entitled
 to interest accruing on or after the Filing Date on any Claim. Additionally, and without limiting
 the foregoing, interest shall not accrue or be paid on any Disputed Claim in respect of the period
 from the Effective Date to the date a final determination is made when and if such Disputed Claim
 becomes an Allowed Claim.

         7.4     Delivery of Distributions. The Distribution to a Holder of an Allowed Claim shall
 be made by Debtor (a) at the address set forth on the proof of claim filed by such Holder, (b) at the
 address set forth in any written notices of address change delivered to Debtor after the date of any
 related proof of claim, (c) at the addresses reflected in the Schedules if no proof of claim has been
 filed and Debtor has not received a written notice of a change of address, or (d) if the Holder’s
 address is not listed in the Schedules, at the last known address of such Holder according to the
 Debtor’s books and records. If any Holder’s Distribution is returned as undeliverable, no further
 Distributions to such Holder shall be made unless and until Debtor is notified by such Holder in
 writing of such Holder’s then-current address, at which time Debtor shall recommence
 Distributions to such Holder without interest but further provided that (i) any distributions not
 claimed within 6 months of return shall be irrevocably retained by Debtor and (ii) such Holder
 shall waive its right to such Distributions. All Distributions returned to Debtor and not claimed
 within six (6) months of return shall be irrevocably retained by Debtor notwithstanding any federal
 or state escheat laws to the contrary.

         If any Distribution on an Unsecured Claim (“Unsecured Distribution”) is tendered by
 Debtor to a Holder of an Unsecured Claim and returned, refused or otherwise improperly returned
 (“Unsecured Distribution Refusal”), Debtor shall not be responsible for making any further
 Unsecured Distribution on account of such Unsecured Claim. Accordingly, in the event of an
 Unsecured Distribution Refusal, Debtor shall be relieved of any obligation to make said payment
 or Distribution and Debtor is relieved of any obligation to make further payments or Distributions
 on such Unsecured Claim under the Plan.

        If any Distribution on a Secured Claim or Priority Claim (“Secured or Priority
 Distribution”) is tendered by Debtor to a Holder of a Secured Claim or Priority Claim and returned,
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 25 of 33



 refused or otherwise improperly returned (“Secured or Priority Distribution Refusal”), the Holder
 of such Secured Claim or Priority Claim, as applicable, shall be deemed to have waived its right
 to such tendered payment or Distribution and such tendered payment or Distribution shall be
 deemed satisfied. In the event of a Secured or Priority Distribution Refusal, any obligation of
 Debtor to make any additional or further payment on such Secured Claim or Priority Claim shall
 be tolled until such time as: (i) notice is provided to Debtor that the Holder of such Secured Claim
 or Priority Claim seeks to receive payments from Debtor on the Secured Claim or Priority Claim
 or otherwise seeks to enforce Debtor’s obligations under the Plan or otherwise enforce the Secured
 Claim or Priority Claim and (ii) any dispute regarding the Secured or Priority Distribution Refusal
 and its implications is resolved by agreement of the parties or the Bankruptcy Court (the “Tolling
 Period”). Only in the event of such notice to Debtor shall Debtor’s obligations to perform as to
 the applicable Secured Claim or Priority Claim resume. The Tolling Period shall: (i) extend the
 term of the payments on such Secured Claim or Priority Claim and (ii) bar any interest from
 accruing on the Secured Claim or Priority Claim until such time as any dispute regarding the
 Secured or Priority Distribution Refusal shall be resolved by a Final Order of the court.
 Notwithstanding anything in the Plan or otherwise to the contrary, no provision allowing the
 imposition of late fees, default interest, late charges, damages, or costs and fees against the Debtor
 or the Debtor’s property shall be applicable during the Tolling Period or any period during which
 a dispute regarding a Tolling Period is being resolved. For purposes of clarification, Debtor shall
 not be required to make any lump sum cure of payments or Distributions which would have
 otherwise come due during the Tolling Period or any period during which a dispute regarding a
 Tolling Period is unresolved, and Debtor shall recommence Distributions upon the resolution of
 such on the terms in the Plan as tolled.

         7.5     Distributions to Holders as of the Record Date. All Distributions on Allowed
 Claims shall be made to the Record Holders of such Claims. As of the close of business on the
 Record Date, the Claims register maintained by the Bankruptcy Court shall be closed, and there
 shall be no further change in the Record Holder of any Claim. Debtor shall have no obligation to
 recognize any transfer of any Claim occurring after the Record Date. Debtor shall instead be
 entitled to recognize and deal for all purposes under this Plan with the Record Holders as of the
 Record Date.

         7.6    Fractional Dollars. Any other provision of this Plan notwithstanding, the Debtor
 shall not be required to make Distributions or payments of fractions of dollars. Whenever any
 payment of a fraction of a dollar under this Plan would otherwise be called for, at Debtor’s option
 the actual payment shall reflect a rounding of such fraction to the nearest whole dollar (up or
 down), with half dollars or less being rounded down.

        7.7     Withholding Taxes. Debtor shall comply with all withholding and reporting
 requirements imposed by any federal, state, local, or foreign taxing authority, and all Distributions
 under this Plan shall be subject to any such withholding and reporting requirements.
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                Document    Page 26 of 33



                                           Article 8
                    Procedures for Treating and Resolving Disputed Claims

        8.1     Objections to Claims. Debtor shall be entitled to object to Claims, provided,
 however, that Debtor shall not be entitled to object to Claims (i) that have been Allowed by a Final
 Order entered by the Bankruptcy Court prior to the Effective Date, or (ii) that are Allowed by the
 express terms of this Plan.

        8.2     No Distributions Pending Allowance. Except as otherwise provided herein, no
 Distributions will be made with respect to any portion of a Claim unless and until (i) no objection
 to such Claim has been filed, or (ii) any objection to such Claim has been settled, withdrawn or
 overruled pursuant to a Final Order of the Bankruptcy Court.

        8.3.    Resolution of Claims Objections. On and after the Effective Date, Debtor shall
 have the authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims
 without approval of the Bankruptcy Court.

                                            Article 9
                             Provision for Assumption of Unexpired
                                Leases and Executory Contracts

        9.1     Provisions Regarding Executory Contracts.

        Debtor is not aware of any leases or executory contract.

         Any unexpired leases or executory contracts which are not assumed under the Plan or are
 the subject of a pending motion to assume as of the Effective Date shall be deemed rejected
 pursuant to Section 365 of the Bankruptcy Code on the Effective Date. Under the terms of the
 Plan, a proof of claim for damages arising from such rejection must be filed in compliance with
 the Bankruptcy Rules on or before sixty (60) days after the Confirmation Date. Any claims which
 are not timely filed will be disallowed and discharged.

                                             Article 10
                              Effect of Plan on Claims and Interests

        10.1 Vesting of Debtor’s Assets. Except as otherwise explicitly provided in the Plan,
 upon the Court’s entry of the Confirmation Order, all property comprising the Estate (including
 Retained Actions, but excluding property that has been abandoned pursuant to an order of the
 Bankruptcy Court) shall revest in Debtor free and clear of all Claims, Liens, charges,
 encumbrances, rights and Interests of creditors and equity security holders, except as specifically
 provided in the Plan. As of the earlier of the Effective Date and the entry of a Final Decree, Debtor
 may operate its business and use, acquire, and dispose of property and settle and compromise
 Claims or Interests without supervision of the Bankruptcy Court, free of any restrictions of the
 Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan
 and Confirmation Order.
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 27 of 33



          10.2. Discharge of Debtor. Pursuant to section 1141(d) of the Bankruptcy Code, except
 as otherwise specifically provided in the Plan or in the Confirmation Order, the Distributions and
 rights that are provided in the Plan shall be in complete satisfaction, discharge, and release of all
 Claims and Causes of Action against Debtor, whether known or unknown, including any and all
 liabilities of Debtor, Liens on Debtor’s assets, obligations of Debtor, rights against Debtor, and
 Interests in Debtor or its Estate that arose prior to the Effective Date regardless of whether a
 claimant accepted or rejected the Plan.

         10.3 Setoffs. Debtor may, but shall not be required to, set off against any Claim, and the
 payments or other Distributions to be made pursuant to this Plan in respect of such Claim, claims
 of any nature whatsoever that Debtor may have now or in the future against such Holder; but
 neither the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or
 release by Debtor of any such claim that Debtor may have against such Holder.

         10.4 Exculpation and Limitation of Liability. Under the Plan, Debtor’s current and/or
 post-Filing Date and pre-Effective Date members, officers, directors, employees, advisors,
 attorneys, representatives, financial advisors, investment bankers, or agents and any of such
 parties’ successors and assigns, shall not have or incur, and shall be released from, any claim,
 obligation, cause of action, or liability to one another or to any Holder of any Claim or Interest, or
 any other party-in-interest, or any of their respective agents, employees, representatives, financial
 advisor, attorneys, or Affiliates, or any of their successors or assigns, for any act or omission in
 connection with, relating to, or arising out of the Bankruptcy Case, the negotiation and filing of
 the Plan, the filing of the Bankruptcy Case, the pursuit of confirmation of the Plan, the
 consummation of the Plan, or the administration of the Plan, except for their willful misconduct,
 gross negligence or fraud, and in all respects shall be entitled to reasonably rely upon the advice
 of counsel with respect to their duties and responsibilities under the Plan. No Holder of any Claim
 or Interest, or other party in interest, none of their respective agents, employees, representatives,
 financial advisors, or Affiliates, and no successors or assigns of the foregoing, shall have any right
 of action against the parties listed in this provision for any act or omission in connection with,
 relating to, or arising out of the Bankruptcy Case, the pursuit of confirmation of the Plan, the
 consummation of the Plan, or the administration of the Plan. Fees and expenses which Debtor
 owes to its Professionals are excluded from this Exculpation.

         10.5 Injunction.        Upon entry of a Confirmation Order in this case, except as provided
 for in this Plan, the Confirmation Order shall act as a permanent injunction against any Person
 commencing or continuing any action, employment of process, or act to collect, offset, or recover
 any Claim or Cause of Action except as provided for under this Plan against: (1) Debtor, or (2)
 against any property of Debtor. Such injunction shall survive the closure of the Bankruptcy Case
 and this Court shall retain jurisdiction to enforce such injunction.

        10.6    Effect of Confirmation.

                 10.6.1 Binding Effect. On the Confirmation Date, the provisions of this Plan shall
 be binding on Debtor, the Estate, all Holders of Claims against or Interests in Debtor, and all other
 parties-in-interest whether or not such Holders are Impaired and whether or not such Holders have
 accepted this Plan. Creditors shall have no right to enforce a Claim against Debtor, even following
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                Document    Page 28 of 33



 a default under the Plan, except to the extent and amount that any Claim of such creditor is
 provided for and then due under the Plan.

                 10.6.2 Effect of Confirmation on Automatic Stay. Except as provided otherwise
 in this Plan, from and after the Effective Date, the automatic stay of § 362(a) of the Bankruptcy
 Code shall terminate.

               10.6.3 Filing of Reports. Debtor shall file all reports and pay all fees required by
 the Bankruptcy Code, Bankruptcy Rules, U.S. Trustee guidelines, and the rules and orders of the
 Bankruptcy Court.

                10.6.4 Post-Effective Date Retention of Professionals. Upon the Effective Date,
 any requirement that professionals comply with §§ 327 through 331 of the Bankruptcy Code in
 seeking retention or compensation for services rendered after such date will terminate, and Debtor
 will employ and pay professionals in their ordinary course of business.

                                              Article 11
                                         Conditions Precedent

        11.1    Intentionally Deleted.

         11.2 Conditions to the Effective Date. The following are conditions precedent to the
 occurrence of the Effective Date, each of which may be satisfied or waived in accordance with
 Article 11.3 of this Plan.

                 11.2.1 The Confirmation Order shall not have been vacated, reversed or modified
 and, as of the Effective Date, shall not have been stayed;

                 11.2.2 All documents and agreements to be executed on the Effective Date or
 otherwise necessary to implement this Plan shall be in form and substance that is acceptable to
 Debtor in its reasonable discretion;

                  11.2.3 Debtor shall have received any authorization, consent, regulatory approval,
 ruling, letter, opinion, or document that may be necessary to implement this Plan and that is
 required by law, regulation, or order.

         11.3 Waiver of Conditions to Confirmation or Consummation. The conditions set forth
 in Article 11.1 and Article 11.2 of this Plan may be waived, in whole or in part, by Debtor without
 any notice to any other parties in interest or the Bankruptcy Court and without a hearing. The
 failure to satisfy or waive any condition to the Confirmation Date or the Effective Date may be
 asserted by Debtor in its sole discretion regardless of the circumstances giving rise to the failure
 of such condition to be satisfied (including any action or inaction by Debtor). The failure of Debtor
 to exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
 such right shall be deemed an ongoing right, which may be asserted at any time.
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                Desc Main
                                Document    Page 29 of 33



                                          Article 12
                 Retention and Scope of Jurisdiction of the Bankruptcy Court

         12.1 Retention of Jurisdiction. Subsequent to the Effective Date, the Bankruptcy Court
 shall have or retain jurisdiction for the following purposes:

               12.1.1 To adjudicate objections concerning the allowance, priority or classification
 of Claims and any subordination thereof, and to establish a date or dates by which objections to
 Claims must be filed to the extent not established herein;

                 12.1.2 To liquidate the amount of any disputed, contingent or unliquidated Claim,
 to estimate the amount of any disputed, contingent or unliquidated Claim, to establish the amount
 of any reserve required to be withheld from any distribution under this Plan on account of any
 disputed, contingent or unliquidated Claim;

               12.1.3 To resolve all matters related to the rejection, and assumption and/or
 assignment of any Executory Contract or Unexpired Lease of Debtor;

               12.1.4 To hear and rule upon all Retained Actions, Avoidance Actions and other
 Causes of Action commenced and/or pursued by Debtor;

                12.1.5 To hear and rule upon all applications for Professional Compensation;

               12.1.6 To remedy any defect or omission or reconcile any inconsistency in this
 Plan, as may be necessary to carry out the intent and purpose of this Plan;

                12.1.7 To construe or interpret any provisions in this Plan and to issue such orders
 as may be necessary for the implementation, execution and consummation of this Plan, to the
 extent authorized by the Bankruptcy Court;

               12.1.8 To adjudicate controversies arising out of the administration of the Estates
 or the implementation of this Plan;

                 12.1.9 To make such determinations and enter such orders as may be necessary to
 effectuate all the terms and conditions of this Plan, including the Distribution of funds from the
 Estate and the payment of claims;

               12.1.10 To determine any suit or proceeding brought by Debtor to recover property
 under any provisions of the Bankruptcy Code;

               12.1.11 To hear and determine any tax disputes concerning Debtor and to determine
 and declare any tax effects under this Plan;

               12.1.12 To determine such other matters as may be provided for in this Plan or the
 Confirmation Order or as may be authorized by or under the provisions of the Bankruptcy Code;
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                   Desc Main
                                 Document    Page 30 of 33



                12.1.13 To determine any controversies, actions or disputes that may arise under
 the provisions of this Plan, or the rights, duties or obligations of any Person under the provisions
 of this Plan;

                12.1.14 To adjudicate any suit, action or proceeding seeking to enforce any
 provision of, or based on any matter arising out of, or in connection with, any agreement pursuant
 to which Debtor sold any of its assets during the Bankruptcy Case; and

                12.1.15 To enter a final decree.

                12.1.16 To enforce and interpret any order or injunctions entered in this Bankruptcy
 Case.

         12.2 Alternative Jurisdiction. In the event that the Bankruptcy Court is found to lack
 jurisdiction to resolve any matter, then the District Court shall hear and determine such matter. If
 the District Court does not have jurisdiction, then the matter may be brought before any court
 having jurisdiction with regard thereto. Notwithstanding anything to the contrary herein, Debtor
 shall be authorized to bring any action related to a lease, contract or account (including any account
 receivable due to Debtor) to which Debtor is a party in any state or local court having jurisdiction
 over such action.

         12.3 Final Decree. The Bankruptcy Court may, upon application of Debtor, at any time
 after “substantial consummation” of the Plan as defined in §1101(2) of the Bankruptcy Code, enter
 a final decree in the case, notwithstanding the fact that additional funds may eventually be
 distributed to parties in interest. In such event, the Bankruptcy Court may enter an Order closing
 these cases pursuant to section 350 of the Bankruptcy Code, provided, however, that: (a) Debtor
 shall continue to have the rights, powers, and duties set forth in this Plan; (b) any provision of this
 Plan requiring the absence of an objection shall no longer be required, except as otherwise ordered
 by the Bankruptcy Court; and (c) the Bankruptcy Court may from time to time reopen the
 Bankruptcy Case if appropriate for any of the following purposes: (1) administering Assets; (2)
 entertaining any adversary proceedings, contested matters or applications Debtor has brought or
 brings with regard to the liquidation of Assets and the prosecution of Causes of Action or otherwise
 administering the Plan; (3) enforcing or interpreting this Plan or supervising its implementation;
 or (4) for other cause.

                                             Article 13
                                      Miscellaneous Provisions

         13.1 Modification of the Plan. Debtor shall be allowed to modify this Plan pursuant to
 section 1127 of the Bankruptcy Code to the extent applicable law permits. Subject to the
 limitations contained in this Plan, pursuant to Article 13.1 of this Plan, Debtor may modify this
 Plan, before or after confirmation, without notice or hearing, or after such notice and hearing as
 the Bankruptcy Court deems appropriate, if the Bankruptcy Court finds that the Modification does
 not materially and adversely affect the rights of any parties in interest which have not had notice
 and an opportunity to be heard with regard thereto. In the event of any modification on or before
 confirmation, any votes to accept or reject this Plan shall be deemed to be votes to accept or reject
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                 Desc Main
                                Document    Page 31 of 33



 this Plan as modified, unless the Bankruptcy Court finds that the modification materially and
 adversely affects the rights of parties in interest which have cast said votes. Debtor reserves the
 right in accordance with section 1127 of the Bankruptcy Code to modify this Plan at any time
 before the Confirmation Date.

         13.2 Allocation of Plan Distributions Between Principal and Interest. To the extent that
 any Allowed Claim entitled to a Distribution under this Plan is composed of indebtedness and
 accrued but unpaid interest thereon, such distribution shall, to the extent permitted by applicable
 law, be allocated for United States federal income tax purposes to the principal amount of the
 Claim first and then, to the extent the consideration exceeds the principal amount of the Claim, to
 the portion of the Claim representing accrued but unpaid interest.

        13.3 Applicable Law. Except to the extent that the Bankruptcy Code or the Bankruptcy
 Rules are applicable, the rights and obligations arising under this Plan shall be governed by the
 laws of the State of Georgia.

         13.4 Preparation of Estate Returns and Resolution of Tax Claims. Debtor shall file all
 tax returns and other filings with governmental authorities and may file determination requests
 under section 505(b) of the Bankruptcy Code to resolve any Disputed Claim relating to taxes with
 a governmental authority.

        13.5 Headings. The headings of the Articles and the sections of this Plan have been used
 for convenience only and shall not limit or otherwise affect the meaning thereof.

         13.6 Revocation of Plan. Debtor reserves the right, unilaterally and unconditionally, to
 revoke and/or withdraw this Plan at any time prior to entry of the Confirmation Order, and upon
 such revocation and/or withdrawal this Plan shall be deemed null and void and of no force and
 effect.

         13.7 No Admissions; Objection to Claims. Nothing in this Plan shall be deemed to
 constitute an admission that any individual, corporation, partnership, trust, venture, governmental
 unit, or any other form of legal entity or person as being the Holder of a Claim is the Holder of an
 Allowed Claim, except as expressly provided in this Plan. The failure of Debtor to object to or
 examine any Claim for purposes of voting shall not be deemed a waiver of Debtor’s rights to object
 to or reexamine such Claim in whole or in part.

         13.8 No Bar to Suits. Except as otherwise provided in Article 10 of this Plan, neither
 this Plan or confirmation hereof shall operate to bar or estop Debtor from commencing any Cause
 of Action, or any other legal action against any Holder of a Claim or any individual, corporation,
 partnership, trust, venture, governmental unit, or any other form of legal entity, whether such
 Cause of Action, or any other legal action arose prior to or after the Confirmation Date and whether
 or not the existence of such Cause of Action, or any other legal action was disclosed in any
 disclosure statement filed by Debtor in connection with this Plan or whether or not any payment
 was made or is made on account of any Claim. Without limitation, Debtor retains and reserves the
 right to prosecute Retained Actions.
Case 19-41154-bem        Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                 Desc Main
                                Document    Page 32 of 33



         13.9 Exhibits/Schedules. All exhibits and schedules to this Plan, and all attachments
 thereto, are incorporated into and are a part of this Plan as if set forth in full herein.

         13.10 Conflicts. In the event that provisions of the Disclosure Statement and provisions
 of this Plan conflict, the terms of this Plan shall govern.

                                            Article 14
                                        Tax Consequences
         Tax consequences resulting from confirmation of the Plan can vary greatly among the
 various Classes of Creditors and Holders of Interests, or within each Class. Significant tax
 consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
 and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
 the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
 of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
 possibility that events subsequent to the date hereof could change the tax consequences, this
 discussion is intended to be general in nature only. No specific tax consequences to any Creditor
 or Holders of an Interest are represented, implied, or warranted. Each Holder of a Claim or Interest
 should seek professional tax advice, including the evaluation of recently enacted or pending
 legislation, because recent changes in taxation may be complex and lack authoritative
 interpretation. The proponent assumes no responsibility for the tax effect that consummation of
 the Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interest are
 strongly urged to consult their own tax advisors covering the federal, state, local and foreign tax
 consequences of the Plan to their individual situation.

        Respectfully submitted this 12th day of October, 2020

                                               AMERICAN BERBER, INC. both in its own name
                                               and as successor by substantive consolidation to
                                               American Carpet Group, Inc.

                                               By: /s/ Howard Johnson
                                               Name: Howard Johnson
                                               Title: Owner

                                               JONES & WALDEN, LLC

                                               /s/ Cameron M. McCord
                                               Cameron M. McCord
                                               Georgia Bar No. 14065
                                                699 Piedmont Ave NE
                                               Atlanta, Georgia 30308
                                               (404) 564-9300 Telephone
                                               (404) 564-9301 Facsimile
                                               cmccord@joneswalden.com
Case 19-41154-bem         Doc 113 Filed 10/12/20 Entered 10/12/20 14:02:43                  Desc Main
                                 Document    Page 33 of 33



                                  CERTIFICATE OF SERVICE

         I certify that on the date specified herein below I cause to be served a copy of the foregoing
 documents via first class United States mail and e-mail in a properly addressed envelope with
 sufficient postage affixed thereto to ensure delivery upon the parties listed below:

        Vanessa A. Leo
        Office of the United States Trustee
        362 Richard B. Russell Federal Bldg.
        75 Ted Turner Drive, SW
        Atlanta, Georgia 30303

        This 12th day of October, 2020.

                                                JONES & WALDEN, LLC

                                                /s/ Cameron M. McCord
                                                Cameron M. McCord
                                                Georgia Bar No. 14065
                                                 699 Piedmont Ave NE
                                                Atlanta, Georgia 30308
                                                (404) 564-9300 Telephone
                                                (404) 564-9301 Facsimile
                                                cmccord@joneswalden.com
                                                Attorney for Debtor
